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Matthew T. Christensen, ISB: 7213
Chad R. Moody, ISB: 9946
ANGSTMAN JOHNSON
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Boise, Idaho 83703
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Attorneys for Debtor in Possession

                             UNITED STATES BANKRUPTCY COURT

                                       DISTRICT OF IDAHO


In re:                                               Case No. 18-01044-JDP

SAFE HAVEN HEALTH CARE, INC,,                        Chapter 11

                           Debtor.



            EMERGENCY AND CONTINUING MOTION FOR AUTHORIZATION
                         TO USE CASH COLLATERAL

          The Debtor in the above-entitled matter, Safe Haven Health Care Inc. (“Safe Haven”), by

and through its counsel of record, ANGSTMAN JOHNSON, pursuant to 11 USC §363, moves

the Court for an order authorizing the Debtor in Possession to use cash collateral. This motion is

made and based upon the following facts:

          1.        The Debtor filed a petition under Chapter 11 of the United States Bankruptcy

Code on the 10th day of August, 2018, and continues in possession of its property and the

operation of its business as debtor in possession.

          2.        To the best of Debtor’s knowledge, information and belief, creditors which may

claim to have liens against the Debtor’s cash collateral are listed below in TABLE 1. (the “Listed



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Creditors”). The amounts owed to these entities, for which they may have a lien in the Debtor’s

cash collateral as of the petition date, are as follows:

          TABLE 1

                             CREDITORS                     APPX. AMOUNT OWED

                    Alliance Laundry Systems         $2,033.55

                    Bank of Idaho                    $134,875.57

                    Business Merchant Funding        Unknown

                    Cash Capital Group, LLC          $137,750.00

                    CCF Leasing Co                   $5,077.69

                    Corporation Service Company      Unknown

                    Eastern Idaho Development        $51,000.00

                    Empire Funding                   $62,250.00

                    Fundrock, LLC                    $90,000.00

                    Idaho Associates, LLC            Unknown

                    Kubota Credit Corporation        Unknown

                    Pluslux, LLC                     Unknown

                    Pocatello Idaho Property, LLC    Unknown

                    Rebecca Taylor                   Unknown

                    U.S. Small Business              $2,933,811.00
                    Administration
                    Yellowstone Capital              $108,750.00

                    Zions First National Bank        $300,000.00




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          3.        These creditors likely claim an interest in the cash collateral to be used, or the

property used to generate cash collateral. Nevertheless, the Debtor wishes to use that cash

collateral to continue operating its business while this Chapter 11 case is pending.

          4.        In the course of the Debtor’s operation, the Debtor projects that it will continue to

collect income of approximately $682,707 per month from its healthcare operations for the time

period of this Motion which is the cash collateral the Debtor seeks authorization to use.

          5.        In accordance with the requirements of 11 USC §363(c)(4), such proceeds will be

segregated into a separate bank account. However, Debtor is a Heath Care Business with income

received from numerous federal agencies and programs, including the U.S. Department of

Veterans Affairs, and Department of Health and Human Services Centers for Medicare and

Medicaid Services (“Federal Entities”). These entities have special and exhaustive depository

authorization requirements to change depository accounts into which to make payments. Getting

these authorizations could not be accomplished by the time the Debtor’s petition is to be filed to

ensure all future payments were deposited in the new segregated Debtor in Possession account.

As a result, the Debtor’s existing bank account will likely continue to receive payments

processed by the Federal Entities post-petition until such time as those deposits can be redirected

to the established DIP accounts. Upon receipt of such payments from the Federal Entities,

Debtor intends to immediate transfer the funds to the Debtor in Possession account.

          6.        The Debtor does not have sufficient income to continue its operations without the

use of cash collateral, and seeks authorization to use cash collateral on an interim basis and on a

continuing basis during 2018 and 2019 to pay operating expenses.

          7.        By this motion, the Debtor requests authorization to use cash collateral on an

emergency basis, pending a final hearing on this motion, to pay the expenses from August 10th,


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2018, through the date of the final hearing on this Motion, including payroll, independent

contractor expenses due and owing immediately. The Debtor wishes to use cash collateral on an

emergency interim basis for the expenses outlined on Exhibit B attached hereto. Attached

hereto as Exhibit A is a projected income and expense statement for the full time period covered

by this Motion.

          8.        In addition to the use of cash collateral on an emergency basis pending a final

hearing on this motion, the Debtor also seeks authorization to continue the use of cash collateral

from and after the date of the final hearing through July 2019 in accordance with the attached

budget.

          9.        The amount of cash collateral sought to be used on an interim basis for the

remainder of August and part of September 2018 (pending a final hearing on this Motion), is

approximately $605,828 per month (average) from the sale of services, as indicated on Exhibit

B, and continuing thereafter in accordance with the projected operating expenses budget as

reflected on Exhibit A through the date of the final hearing.

          10.       If the Debtor is not permitted to use cash collateral to pay operating expenses, the

Debtor will be unable to continue its business operation (including paying payroll expenses) and

will likely be unable to fund any plan to be proposed hereafter.

          11.       The Debtor’s projected income for August 2018 through July 2019, is included in

the line-item budget that is attached hereto as Exhibit A.

          12.       To the extent they claim a pre-petition lien in the Debtor’s cash collateral, the

Debtor is willing to give the Listed Creditors adequate protection as follows:

                a. By granting said creditors a post-petition lien, to the same extent that they had a

                    lien pre-petition, against the Debtor’s post-petition cash collateral.


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                b. In addition, based on the estimated market value its other collateral, Alliance

                    Laundry Systems, Eastern Idaho Development appears to have an equity cushion

                    to protect its debt.

          13.       As best as it can be determined by the Debtor, based upon current market

conditions and values, the estimated fair market value for all of the collateral which may secure

the above-named creditors is in excess of $1,214,818.09 (not including real property which may

also secure some of the creditors listed above; this amounts includes all collateral for these

creditors, not just post-petition receivables). Some of the collateral securing these parties is

accounts receivable.         Attached hereto as Exhibit C is the Debtor’s most current accounts

receivable list.

          14.       If the Court determines the adequate protection proposed by the Debtor is not

sufficient, then the Debtor requests that a determination be made as to any additional amount to

be paid as adequate protection.

          15.       A proposed interim Cash Collateral order is attached hereto as Exhibit D. The

proposed final cash collateral order will be in the same form, with the longer budget attached as

approved, rather than the interim budget.

          /

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          WHEREFORE, the Debtor in Possession prays that an order be issued granting the debtor

in possession the right to use cash collateral on an emergency and continuing basis, namely

proceeds from the sale of its services , to pay the ongoing expenses set forth in the budget that is

attached hereto and made a part hereof, and that the Debtor be entitled to do so until further order

of this Court.

          DATED this 10th day of August, 2018.



                                                         /s/ Matt Christensen
                                                  MATTHEW T. CHRISTENSEN
                                                  Attorney for Debtor in Possession




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                                      CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 10th day of August, 2018, I filed the foregoing
EMERGENCY AND CONTINUING MOTION FOR AUTHORIZATION TO USE CASH
COLLATERAL electronically through the CM/ECF system, which caused the following parties
to be served by electronic means, as more fully reflected on the Notice of Electronic Filing:

          Matthew T. Christensen                      mtc@angstman.com
          U.S. Trustee                                ustp.region18.bs.ecf@usdoj.gov


          Any others as listed on the Court’s ECF Notice.

     I FURTHER CERTIFY that on such date I served the foregoing on the following non-
CM/ECF Registered Participants via U.S. Mail, postage prepaid:

          See attached mailing list



                                                       /s/ Matt Christensen
                                                 Matthew T. Christensen




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AARCO A‐1 HEALTH CARE SERVICE      AAMCO MEDICAL, LLC                 BLAINE COUNTY
PO BOX 75111                       9847 S 500 W STE 200               219 FIRST AVENUE SOUTH
SEATTLE, WA 9812                   SANDY, UT 84070‐2576               SUITE 102
                                                                      HAILEY, ID 83333

COLONIAL FUNDING NETWORK           EVOLUTION CAPITAL                  HANSEN HUNTER AND CO.
120 WEST 45TH                      120 W 45TH ST 2ND FLOOR            8930 SW GEMINI DRIVE
NEW YORK, NY 10036                 NEW YORK, NY 10036                 BEAVERTON, OR 97008



HOLLLAND AND HART                  IDAHO DEPT OF HEALTH AND WELFARE   INDEPENDENCE REHAB
800 W MAIN STREET #1750            REVENUE UNIT                       5314 RIVER RUN DR, STE. 140
BOISE, ID 83702                    PO BOX 83720                       PROVO, UT 84604
                                   BOISE, ID 83720‐0036

INTERNAL REVENUE SERVICE           MCKESSON MEDICAL‐SURGICAL          MEDSOURCE INCORPORATED
PO BOX 7346                        8121 10TH AVENUE N                 10520 SOUTH 700 EAST
PHILADELPHIA, PA 19107‐3460        MINNEAPOLIS, MN 55427              SUITE 210
                                                                      SANDY, UT 84070

NORIDIAN HEALTHCARE SOLUTION       OMEGA HEALTHCARE INVESTORS         OMEGA MENTAL HEALTH
PO BOX 6722                        200 INTERNATIONAL CIRCLE           5985 W STATE STREET
FARGO, ND 58108‐6722               SUITE 300                          BOISE, IDAHO 83703
                                   HUNT VALLEY, MD 21030‐1331

PARKER PUBLIC AFFAIRS              SAGE HEALTH CARE PLLC              STATE OF IDAHO MEDICAID
599 W BANNOCK STREET               413 N ALLUMBAUGH ST, STE. 101      PO BOX 83720
BOISE, IDAHO 83702                 BOISE, ID 83704                    BOISE, ID 83720‐0009



STRATEGIES 360 INC                 ALLIANCE LAUNDRY SYSTEMS           BANK OF IDAHO
1505 WESTLAKE AVENUE NORTH         PO BOX 990                         151 NORTH RIDGE, SUITE 240
SUITE 1000                         RIPON, WI 54971                    IDAHO FALLS, ID 83402
SEATTLE, WA 98109


BUSINESS MERCHANT FUNDING          CASH CAPITAL GROUP, LLC            CCF LEASING CO
680 CENTRAL AVE                    1013 CENTRE RD, 403S               198 LOCUST ST S
BALTIMORE, MD 21201                WILMINGTON, DE 19805               TWIN FALLS, ID 83301



CORPORATION SERVICE COMPANY        EASTERN IDAHO DEVELOPMENT          EMPIRE FUNDING
801 ADLAI STEVENSON DR             1651 ALVIN RICKEN DRIVE            1022 AVENUE M
SPRINGFIELD, IL 62703              POCATELL, ID 83201                 BROOKLYN, NY 11230


                                   IDAHO ASSOCIATES, LLC
FUNDROCK, LLC                                                         KUBOTA CREDIT CORPORATION
                                   303 W MADISON STREET
1080 MCDONALD AVE                                                     4400 AMON CARTER BLVD, STE 100
                                   SUITE 2400
BROOKLYN, NY 11218                                                    FORT WORTH, TX 76155
                                   CHICAGO, IL 60606
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PLUSLUX, LLC                          POCATELLO IDAHO PROPERTY, LLC      REBECCA TAYLOR
461 DOUGHTY BLVD                      303 WEST MADISON STREET            6110 INDIAN TREE LANE
INWOOD, NY 11096                      SUITE 2400                         POCATELL, ID 83204
                                      CHICAGO, IL 60606

US SMALL BUSINESS ADMINISTRATION      YELLOWSTONE CAPITAL                ZIONS FIRST NATIONAL BANK
1651 ALVIN RICKEN DRIVE               30 BROAD STREET 14TH FLOOR         253 SOUTH MAIN STREET
POCATELLO, ID 83201                   SUITE 1462                         POCATELLO, ID 83204
                                      NEW YORK, NY 10004

ZIONS BANK
1235 S UTAH AVE
IDAHO FALLS, ID 83402
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                              August         September        October       November      December      January     February      March         April       May         June        July        Total
Cash from operations          $   671,920    $      682,707   $   682,707   $   682,707   $   682,707   $ 682,707   $ 682,707     $ 682,707     $ 682,707   $ 682,707   $ 682,707   $ 682,707   $ 8,181,695
UPL                           $       ‐      $      450,000   $       ‐     $       ‐     $       ‐     $     ‐     $     ‐       $     ‐       $     ‐     $     ‐     $     ‐     $     ‐     $ 450,000
Total                         $   671,920    $    1,132,707   $   682,707   $   682,707   $   682,707   $ 682,707   $ 682,707     $ 682,707     $ 682,707   $ 682,707   $ 682,707   $ 682,707   $ 8,631,695
                                                                                                                                                                                                $        ‐
Cash from operations                                                                                                                                                                            $        ‐
State Assessment               $       ‐     $     150,000 $          ‐     $       ‐     $       ‐   $       ‐     $       ‐     $     $ ‐     ‐   $    ‐   $    ‐   $     ‐                   $ 150,000
Payroll                        $   388,700   $     388,700 $      398,900   $   388,700   $   388,700 $   392,600   $   376,000   $   376,000
                                                                                                                                        $ 392,600 $ 376,000 $ 376,000 $ 392,600                 $ 4,635,500
Benefits                       $    34,400   $      34,400 $       34,400   $    34,400   $    34,400 $    34,400   $    34,400   $    34,400
                                                                                                                                        $    37,840 $ 37,840 $ 37,840 $ 37,840                  $ 426,560
Employee Reimbursements        $     8,609   $       8,609 $        8,609   $     8,609   $     8,609 $     8,609   $     8,609   $     8,609
                                                                                                                                        $     8,609 $ 8,609 $ 8,609 $ 8,609                     $ 103,304
Payroll Services               $     5,000   $       5,000 $        5,000   $     5,000   $     5,000 $       ‐     $       ‐     $     $ ‐     ‐   $    ‐   $    ‐   $     ‐                   $     25,000
Out sourced accounting & payro $       ‐     $         ‐   $          ‐     $       ‐     $       ‐   $    14,000   $    14,000   $    14,000
                                                                                                                                        $    14,000 $ 14,000 $ 14,000 $ 14,000                  $     98,000
Insurances                     $    31,968   $      39,141 $       31,968   $    31,968   $    31,968 $    35,164   $    35,164   $    35,164
                                                                                                                                        $    35,164 $ 35,164 $ 35,164 $ 35,164                  $ 413,162
Mortgages                      $    54,977   $      54,977 $       54,977   $    54,977   $    54,977 $    54,977   $    54,977   $    54,977
                                                                                                                                        $    54,977 $ 54,977 $ 54,977 $ 54,977                  $ 659,729
Rent                           $    19,185   $      18,285 $       18,285   $    18,285   $    18,285 $    18,285   $    18,285   $    18,285
                                                                                                                                        $ 20,113.50 $ 20,114 $ 20,114 $ 20,114                  $ 227,634
Leased Equipment               $     9,951   $       9,951 $        9,951   $     9,951   $     9,951 $     9,951   $     9,951   $     9,951
                                                                                                                                        $     9,951 $ 9,951 $ 9,951 $ 9,951                     $ 119,418
Utilities                      $    13,700   $      13,700 $       13,700   $    15,000   $    16,000 $    16,000   $    15,000   $    14,000
                                                                                                                                        $    14,000 $ 14,000 $ 14,000 $ 14,000                  $ 173,100
Telephone/Internet/Cable       $     6,300   $       6,300 $        6,300   $     6,300   $     6,300 $     6,300   $     6,300   $     6,300
                                                                                                                                        $     6,300 $ 6,300 $ 6,300 $ 6,300                     $     75,600
IRS note payment               $     5,000   $       5,000 $        5,000   $     5,000   $     5,000 $     5,000   $     5,000   $     5,000
                                                                                                                                        $     5,000 $ 5,000 $ 5,000 $ 5,000                     $     60,000
Dietary                        $    21,760   $      21,760 $       21,760   $    21,760   $    21,760 $    21,760   $    21,760   $    21,760
                                                                                                                                        $    21,760 $ 21,760 $ 21,760 $ 21,760                  $ 261,120
Doctors                        $    26,800   $      26,800 $       26,800   $    26,800   $    26,800 $    26,800   $    26,800   $    26,800
                                                                                                                                        $    26,800 $ 26,800 $ 26,800 $ 26,800                  $ 321,600
Pharmacy                       $     6,900   $       6,900 $        6,900   $     6,900   $     6,900 $     6,900   $     6,900   $     6,900
                                                                                                                                        $     6,900 $ 6,900 $ 6,900 $ 6,900                     $     82,800
Medical Supplies               $     8,362   $       8,362 $        8,362   $     8,362   $     8,362 $     8,362   $     8,362   $     8,362
                                                                                                                                        $     8,362 $ 8,362 $ 8,362 $ 8,362                     $ 100,340
IT/Software                    $     6,494   $       6,494 $        6,494   $     6,494   $     6,494 $     6,494   $     6,494   $     6,494
                                                                                                                                        $     6,494 $ 6,494 $ 6,494 $ 6,494                     $     77,922
Other Supplies                 $     7,700   $       7,700 $        7,700   $     7,700   $     7,700 $     7,700   $     7,700   $     7,700
                                                                                                                                        $     7,700 $ 7,700 $ 7,700 $ 7,700                     $     92,400
Lodging                        $     1,000   $       1,000 $        1,000   $     1,000   $     1,000 $     1,000   $     1,000   $     1,000
                                                                                                                                        $     1,000 $ 1,000 $ 1,000 $ 1,000                     $     12,000
Plant, Ops                     $    10,000   $      10,000 $       10,000   $    10,000   $    10,000 $    10,000   $    10,000   $    10,000
                                                                                                                                        $    10,000 $ 10,000 $ 10,000 $ 10,000                  $ 120,000
Legal Fees                     $     5,000   $       5,000 $        5,000   $     5,000   $     5,000 $     5,000   $     5,000   $     5,000
                                                                                                                                        $     5,000 $ 5,000 $ 5,000 $ 5,000                     $     60,000
Other Misc.                    $     5,000   $       5,000 $        5,000   $     5,000   $     5,000 $     5,000   $     5,000   $     5,000
                                                                                                                                        $     5,000 $ 5,000 $ 5,000 $ 5,000                     $     60,000
US Trustee                                                 $        6,500                             $     9,750                       $     9,750                   $ 9,750                   $     35,750
Accountant for Reporting       $     2,000 $         2,000 $        2,000   $     2,000 $       2,000 $     2,000   $ 2,000 $ 2,000 $         2,000 $ 2,000 $ 2,000 $ 2,000                     $     24,000
Total Cash expenses            $   678,805 $       835,079 $      694,605   $   679,205 $     680,205 $   706,052   $ 678,702 $ 677,702 $ 709,321 $ 682,971 $ 682,971 $ 709,321                 $ 8,414,939

Net Cash Flow                 $     (6,885) $      297,628 $      (11,899) $      3,501 $       2,501 $ (23,345) $        4,005 $       5,005 $    (26,614) $    (264) $     (264) $ (26,614) $    216,756
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EMERGENCY INTERIM BUDGET
                                       August      September
Cash from operations                   $ 671,920   $ 682,707
UPL                                    $     ‐     $ 450,000
Total                                  $ 671,920   $ 1,132,707

Cash from operations
Payroll                                $ 388,700   $    220,263
Benefits                               $ 34,400    $     19,493
Employee Reimbursements                $ 8,609     $      4,878
Payroll Services                       $ 5,000     $      2,833
Insurances                             $ 31,968    $     22,180
Rent                                   $ 19,185    $     10,362
Leased Equipment                       $ 9,951     $      5,639
Utilities                              $ 13,700    $      7,763
Telephone/Internet/Cable               $ 6,300     $      3,570
Dietary                                $ 21,760    $     12,331
Doctors                                $ 26,800    $     15,187
Pharmacy                               $ 6,900     $      3,910
Medical Supplies                       $ 8,362     $      4,738
IT/Software                            $ 6,494     $      3,680
Other Supplies                         $ 7,700     $      4,363
Plant, Ops                             $ 10,000    $      5,667
Total Cash expenses                    $ 605,828   $    346,857


Note: Sept column assumes a final cash collateral hearing on 9/17/18.
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                           UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF IDAHO
In re:                              )
                                    )                 Case No.: 18-01104-JDP
SAFE HAVEN HEALTH CARE, INC.,       )
                                    )                 (Chapter 11)
                  Debtor.           )
___________________________________ )


   (PROPOSED) ORDER GRANTING EMERGENCY MOTION FOR USE OF CASH

                                         COLLATERAL

         THIS MATTER came before the court for a preliminary hearing on the Debtor’s

Emergency and Continuing Motion for Authorization to Use Cash Collateral (Docket No. ___)

on the ___ day of August, 2018, after notice being given to the twenty largest unsecured

creditors and other parties in interest. Appearing at the hearing on behalf of the Debtor was

Matthew T. Christensen of Angstman Johnson.

         The Court, having reviewed and considered the Debtor’s motion, being fully advised of

the merits of said motion, and good cause appearing therefore, hereby enters its Order as follows:

         IT IS HEREBY ORDERED that effective August 10, 2018, the Debtor is authorized the

interim use of cash collateral.

         IT IS FURTHER ORDERED that said cash collateral shall be used to pay only the

expenses outlined on the attached Exhibit B.

         IT IS FURTHER ORDERED that the secured parties identified in the Motion shall

maintain their adequate protection liens on all post-petition collateral to the same extent as

existed pre-petition to the extent of cash collateral actually used by the Debtor.

         IT IS FURTHER ORDERED that the Debtor operate in compliance with the U.S.

Trustee’s Guidelines.
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        IT IS FURTHER ORDERED that proceeds shall be segregated into a separate bank

account in accordance with the requirements of 11 U.S.C. §363(c)(4).

        IT IS FURTHER ORDERED that Debtor’s Motion for Use of Cash Collateral shall be

and the same is hereby scheduled for a final hearing on the ___ day of ____________, 2018, at

_______ a.m./p.m. in Boise, Idaho.

//end of text//



Order submitted by: Matthew T. Christensen, attorney for the Debtor
